IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,


           v.                                       10-CR-


JASON WATSON,

                   Defendant.




                                INFORMATION
                           (18 U.S.C. § 2423(b))


                                  COUNT I

                   The United States Attorney Charges:



      Beginning on or about March 13, 2009, and continuing through

on or about March 16, 2009, in the Western District of New York,

and   elsewhere,     the   defendant,   JASON   WATSON,   did   travel   in

interstate commerce for the purpose of engaging in illicit sexual

conduct, as defined in Title 18, United States Code, Section

2423(f), with a person under the age of 18 years old, that is,

Minor 1.
    All in violation of Title 18, United States Code, Section

2423(b)



    DATED: Buffalo, New York, September 28, 2010.




                              WILLIAM J. HOCHUL, JR.
                              United States Attorney


                              S/ MAURA K. O’DONNELL
                        BY:
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